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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                   SOUTHEASTERN DIVISION

 TERRY L. CANTERBURY,                             )
                                                  )
                   Plaintiff,                     )
                                                  )
           v.                                     )         No. 1:21-CV-0006 AGF
                                                  )
 JASON LEWIS, et al.,                             )
                                                  )
                   Defendants.                    )

                                  MEMORANDUM AND ORDER

       Plaintiff, a prisoner, moves for leave to proceed in forma pauperis in this civil action under

42 U.S.C. § 1983. Under 28 U.S.C. § 1915(b), plaintiff is required to submit a certified copy of

his prison trust account statement for the six-month period before the filing of the complaint. He

has not done so.

       Accordingly,

       IT IS HEREBY ORDERED that, within twenty-one (21) days from the date of this Order,

plaintiff must submit a copy of his prison trust account statement for the six-month period before

the filing of the complaint.

       Dated this 12th day of January 2021.




                                                  AUDREY G. FLEISSIG
                                                  UNITED STATES DISTRICT JUDGE
